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5 Attorney for the Defendant/Petitioner,
6 Juan Torres Valencia
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8                         UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   JUAN TORRES VALENCIA,                             Civil Case No 3:17-cv-02397-LAB-
                                                       JLB
12                                 Petitioner,

13   v.
                                                       Criminal Case No. 11-CR-5171-LAB
14   UNITED STATES OF AMERICA,
15                               Respondent
                                                    NOTICE OF DEFENDANT /
16                                                  PETITIONER’S RESPONSE TO
                                                    ORDER TO SHOW CAUSE FOR
17                                                  WHY HIS PETITION FOR WRIT OF
                                               .
18                                                  CORAM NOBIS SHOULD NOT BE
                                                    SUMMARILY DISMISSED; AND
19                                                  MEMORANDUM OF POINTS AND
20                                                  AUTHORITIES IN SUPPORT
                                                    THEREOF.
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 1                                    NOTICE OF RESPONSE
 2         The Petitioner/Defendant, Juan Torres-Valencia files this notice of response and
 3 response to the court’s Order to Show Case: Re: Summary Denial of Petition. As an
 4 initial note, there appears to be an error in the recitation of the facts of this case.
 5 Undoubtedly, this affected this court’s analysis. First, this court stated that the writ was
 6 filed “over seven and a half years” after pleading guilty to the offense. Torres-Valencia
 7 v. US, No 3:17-cv-02397-LAB-JLB (ECF: 6, at 1). However, the Petitioner pled on April
 8 19, 2012. Thus, the Petitioner did not wait seven and a half years to file the writ.
 9 Moreover, Petitioner filed an explanation of his reasons for not filing sooner which were
10 contained in his Memorandum of Points and Authorities. Id. (ECF 4, at 10-11). Second,
11 the court states that the Petitioner “knew he would be removed” as a result of signing the
12 stipulated order of removal provision contained in the plea agreement. Id. (ECF 6, at 2).
13 This is untrue; nothing in the stipulated order of removal provision mandates that he will
14 be removed. See Torres-Valencia v. US, No. 11-cr-5171-LAB-1 (ECF 15, at 9:25-10:5).
15 To the extent the court is soliciting a response to the question of whether the stipulated
16 order of removal provision operates as a waiver of the writ, case law confirms it does not.
17         For these reasons, the court should not summarily dismiss the action.
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20                                                            Respectfully submitted,
           Date: January 29, 2018                             Andres Ortiz Law
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22                                                            _/s/ Andres Ortiz________
                                                              Andres Ortiz, Esq.
23                                                            Attorney for the Defendant/Petitioner
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2         In the matter at bar, this court issued an Order to Show Cause (OSC) why the writ
 3 of coram nobis should not be summarily denied. Torres-Valencia v. US, No 3:17-cv-
 4 02397-LAB-JLB (ECF: 6). The Petitioner files this response why the matter should not
 5 be summarily denied.
 6                                  PROCEDURAL HISTORY
 7         Mr. Torres Valencia was convicted for violating 21 USC § 952, 960 on April 19,
 8 2012. Torres-Valencia v. US, No. 11-cr-5171-LAB-1 (ECF: 28). He was sentenced to
 9 five years’ probation. Id. On August 25, 2017, the Board of Immigration Appeals denied
10 the Petitioner’s appeal and he suffered a final order of removal from the agency. Torres-
11 Valencia v. US, No 3:17-cv-02397-LAB-JLB (ECF: 4, at pg. 6). On November 29, 2017,
12 approximately five and a half years after the plea, the Petitioner filed the petition for writ
13 of coram nobis. Id. (ECF: 1). On December 4, 2017, the Petitioner filed a memorandum
14 of points and authorities in support of the writ. Id. (ECF: 4). This court issued an Order
15 to Show Cause (OSC) why the writ of coram nobis should not be summarily denied on
16 January 4, 2018. Id. (ECF: 6).
17                                           ANALYSIS
18         The Petitioner asserts that this matter should not be summarily dismissed, and to
19 the contrary, it should be granted, or at a minimum given an evidentiary hearing. This
20 court requested that the Petitioner address two issues: (1) the effect of Mr. Torres-
21 Valencia agreement to the stipulated order of removal provision and (2) the reason he
22 waited five (not seven) years to file the writ of coram nobis. Torres-Valencia v. US, No
23 3:17-cv-02397-LAB-JLB (ECF: 6, at pg. 2). While many of these issues have been
24 addressed in the memorandum of points and authorities, the Petitioner will happily
25 summarize them again.
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1          I.     THE STIPULATED ORDER OF REMOVAL PROVISION HAS NO BEARING
                  ON THIS CASE
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           As an initial point, this court asks the Petitioner to address why he is challenging
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     the validity of the plea, when he “knew he would be removed” as a consequence of the
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     crime. Torres-Valencia v. US, No 3:17-cv-02397-LAB-JLB (ECF: 6, at pg. 2).
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     Factually, this is not true. In the Petitioner’s declaration, he states that he did not know
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     he would be removed as a result of the crime. Specifically, he stated, “[d]uring the client
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     meeting, Mr. White told me that I could be deported if I pled to the current charge.
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     However, the ultimate decision would be made by a judge.” Id. (ECF: 4-1, at pg. 4, ¶ 12-
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     14 (emphasis retained)). Likewise, nothing in the stipulated order of removal provision
10
     mandates removal, it operates as a waiver to contest removal. Torres-Valencia v. US,
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     No. 11-cr-5171-LAB-1 (ECF: 15 at 9:25-10:5). Thus, the Petitioner did not know he
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     would be removed as a result of the plea. Consequently, at this stage in the proceedings,
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     there is enough evidence to establish prima facie eligibility for relief on this ground.
14
           It appears the court’s real concern is not that the Petitioner knew he would be
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     removed; the real issue is that Mr. Torres-Valencia the plea that contained a stipulated
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     order of removal provision operates as a bar to collateral attack of the plea. As explained
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     below, the plea was not voluntary, knowing, and intelligent because the Petitioner relied
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     on counsel’s misinformation.
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           Ninth Circuit caselaw holds waivers are not valid when the plea was not voluntary,
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     knowing, and intelligent. By applicable example, the Ninth Circuit held that a knowing
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     and voluntary waiver of a statutory right is enforceable. US v. Navarro-Botello, 912 F.2d
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     318, 321 (9th Cir. 1990). However, the court clarified that:
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24
           The scope of a section 2255 waiver may be subject to potential limitations .
25         . . Additionally, a waiver may be “unenforceable” and may not
26         “categorically foreclose” a defendant from bringing section 2255
           proceedings where a petitioner claims ineffective assistance of counsel
27         challenging the voluntariness of his plea. Washington v. Lampert, 422 F.3d
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 1         864, 871 (9th Cir. 2005); [US v. Abarca, 985 F.2d 1012, 1014 (9th Cir.
           1993)]; see also US v. Pruitt, 32 F.3d 431, 433 (9th Cir. 1994).
 2
 3 Id. Thus, when determining whether the waiver is enforceable, the court must “determine
 4 what the defendant reasonably understood to be the terms of the agreement when he
 5 pleaded guilty,” US v. De la Fuente, 8 F.3d 1333, 1337 (9th Cir. 1993) (footnote
 6 omitted), and then that he voluntarily and knowingly waived his rights as he understood
 7 them. See US v. Charles, 581 F.3d 927, 932 (9th Cir.2009) (Because defendant
 8 “reasonably could have believed that he retained his right to appeal his sentence to the
 9 extent that the district court determined he was a career offender,” “[defendant] did not
10 waive his right to appeal [that] determination.”).
11         Thus, the question of whether the plea agreement is enforceable turns on the advice
12 of counsel. As Mr. Torres-Valencia discussed in his declaration, he was not told that his
13 plea would result in virtually certain removal from the US. Torres-Valencia v. US, No
14 3:17-cv-02397-LAB-JLB (ECF: 4-1, at pg. 4, ¶ 12-14). Mr. Torres-Valencia’s daughter
15 remembers receivng the same advice. Id. Torres-Valencia v. US, No 3:17-cv-02397-
16 LAB-JLB (ECF: 4-1, at pg. 11, ¶ 23-28). Upon previous counsel’s advice, Ms. McCann
17 wrote a letter to the judge asking the court to spare her father from removal. Id. (ECF: 4-
18 1, at pg. 12, ¶ 1-7) and Torres-Valencia v. US, No. 11-cr-5171-LAB-1 (ECF: 19).
19 Clearly, the actions by Mr. Torres-Valencia and his family were predicated on the belief
20 that there was a removal case to fight. As discussed at length in the points and
21 authorities, former counsel’s advice fell below the objective standard of reasonableness
22 because the attorney should have, after adequate investigation, explained to his client that
23 the plea would result in virtually certain removal. Torres-Valencia v. US, No 3:17-cv-
24 02397-LAB-JLB (ECF: 4, at pgs. 12-14). Thus, it is clear the family did not know (1)
25 removal was virtually certain and (2) the Petitioner agreed to not contest removal.
26         Moreover, to the extent this court’s understanding of a stipulated order of removal
27 provision means that the defendant subjectively understood he would be removed, former
28 counsel’s advice is even more incorrect. Mr. Torres-Valencia was told before the plea
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 1 was taken and Ms. McCann was told after the plea was taken and before sentencing that
 2 there was a possibility of removal and that they could take steps to convince the court
 3 otherwise. If it is the court’s position that the Petitioner knew he would be removed, then
 4 former counsel’s error is even more clear because the family wrote letters asking this
 5 court to not remove their father.
 6         Additionally, the Petitioner establishes reasonable reliance, notwithstanding the
 7 stipulated order of removal provision, on counsel’s advice that he and his family could
 8 persuade this court to not order their father removed. Surely, the mistaken belief on both
 9 of these grounds nullifies any reasonable argument that the advice Mr. Torres-Valencia,
10 or his family, received was constitutionally sufficient. Like explained in the points and
11 authorities, the Petitioner was led to believe that his immigration fate was not sealed by
12 agreeing to plead to the original charges or by agreeing to the stipulated order of removal
13 provision. If the true effects of the charges and stipulated order of removal provision
14 were communicated to the Petitioner and his family, it would be of little use for Ms.
15 McCann to attempt to persuade this court not to order her father removed. Moreover, an
16 attorney who had accurately communicated the impact of the plea would have necessarily
17 explained that (1) this court cannot order a defendant removed and (2) the stipulated
18 order of removal provision would make any pleading for mercy unpersuasive.
19         Consequently, the Petitioner did not know he would be removed as a result of the
20 plea, despite signing the stipulated order of removal provision.
21         II.    THE PETITION IS NOT UNTIMELY
22         This court requested that the petitioner explain the delay. As an initial note, the
23 court stated the Petitioner waited over seven and a half years to file the writ, this is
24 incorrect. The petition was approximately five and a half years after the plea. Moreover,
25 the Petitioner addressed this element in the points and authorities. Torres-Valencia v. US,
26 No 3:17-cv-02397-LAB-JLB (ECF: 4, at 10-11). Specifically, the Petitioner analogized
27 his case to US v. Kwan, 407 F.3d 1005 (9th Cir. 2005) abrogated on other grounds by
28 Padilla v. Kentucky, 559 U.S. 356 (2010). In Kwan, the Ninth Circuit held that the
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 1 petitioner had not brought the petition in an untimely fashion merely because it could
 2 have been brought at a more prudent time; “[t]he law does not require Kwan to challenge
 3 his conviction at the earliest opportunity, it only requires Kwan to have sound reasons for
 4 not doing so.” Id at 1014.
 5            Mr. Torres-Valencia explained that he had not filed sooner because he was
 6 pursuing his case before the immigration court and the Board of Immigration Appeals.
 7 Torres-Valencia v. US, No 3:17-cv-02397-LAB-JLB (ECF: 4, at 11). His appeal was not
 8 dismissed, and he did not suffer a final order of removal until August 25, 2017.1 Thus,
 9 Mr. Torres-Valencia should not be penalized for pursuing his procedural rights before the
10 agency. While it may have been prudent to bring the claim earlier, pursuing procedural
11 rights in another venue is no doubt a “sound reason” within the context of Kwan.
12 Moreover, the government has not alleged it has been prejudiced in any way by Mr.
13 Torres-Valencia’s petition.
14                                            CONCLUSION
15            For these reasons, the court should not summarily dismiss the action.
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20            Respectfully submitted,
              Date: January 29, 2018                            Andres Ortiz Law
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22                                                              _/s/ Andres Ortiz________
                                                                Andres Ortiz, Esq.
23                                                              Attorney for the Defendant/Petitioner
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         Thus, Mr. Torres-Valencia was a lawful permanent resident to that date. See Matter of
     Lok, 18 I&N Dec. 101 (BIA 1981), aff’d, Lok v. INS, 681 F.2d 107 (2d Cir. 1982).
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 1                               CERTIFICATE OF SERVICE
 2
 3         I, Andres Ortiz, the undersigned, say:
 4
 5         I am over the age of eighteen years and not a party to the within action or
                                                                                 th
 6 proceedings; my business address is Andres Ortiz Law One World Trade Center, 8 Fl.
 7 Long Beach, CA 90831
 8         On January 29, 2018, I caused to be served the within:
 9 NOTICE OF DEFENDANT / PETITIONER’S RESPONSE TO ORDER TO
10 SHOW CAUSE FOR WHY HIS PETITION FOR WRIT OF CORAM NOBIS
11 SHOULD NOT BE SUMMARILY DISMISSED; AND MEMORANDUM OF
12 POINTS AND AUTHORITIES IN SUPPORT THEREOF
13 with the Clerk of Court for the United States District Court for the Southern District of
14 California by using the CM/ECF system.
15
16         I certify that participants in the case are registered CM/ECF users and that service
17 will be accomplished by the appellate CM/ECF system.
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     _____/s/ Andres Ortiz
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      Andres Ortiz, Esq.
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                                     Civil Case No. 3:17-cv-02397-LAB-JLB / Criminal Case No. 11-CR-5171-LAB
